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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

UNITED STATES, ex re/
GARY CRESSMAN,
Plaintiff/Relator

CIVIL ACTION NO. 13-CV-5693
v.

SOLID WASTE SERVICES, INC. d/b/a
J.P. MASCARO & SONS,
Defendant

 

CERTIFICATE OF SERVICE

I hereby certify that on November 2, 2015, 1 electronically filed the foregoing Rule 26
Disclosures of Defendant, Solid Waste Services, Inc. d/b/a J. P. Mascaro & Sons, in regard to the
above-captioned matter and said document is available for viewing and downloading from the

Electronic Case Filing System. The said document was also served on November 2, 2015 upon
the following persons:

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